 

Case 5:18-Cr-00059-C Document 20 Filed 07/17/18 Page 1 of 1 Page|D 55

IN THE UNITED STATES DlSTRlCT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

LUBBoCK DIvIsIoN
UNITED sTATEs oF AMERICA )
)
v. ) No. 5;18-CR-059-01-C
) ECF
DERRICK ALAN THoMAs )
oRDER

Came on for consideration Defendant’s Motion for Discovery and Inspection and Motion
for Discovery and Inspection Under Rule l6(a)(l)(G). The Court having considered the motions
is of the opinion that, With the exception of paragraphs concerning informants, Which are hereby
DENIED, the motions should be GRANTED to the extent that the Government must comply
With the mandates of Rule l6, Federal Rules of Criminal Procedure, together With the cases of
Brady v. Marylcmd and Gigll`o v. Um'ted States, and their progeny, and Rule 404(b), F ederal
Rules of Evidence. The Government should make discovery and give inspection Within five (5)
days from the date hereof.

SO ORDERED.

Dated July / 7 ,2018.

 

 

   

 

CT JUDGE

